            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:08cr259-9


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
GABRIEL NEAL.             )
                          )



     THIS MATTER is before the Court on a letter from the Defendant

[Doc. 204].

     In the letter, the Defendant expresses frustration with his attorney;

however, the complaints are actually related to the seriousness of the

charges against him. As recently as November 12, 2009, the Defendant

received a status of counsel hearing during which issues with counsel were

explored. As a result of that hearing, his attorney’s motion to withdraw was

denied. The Court finds nothing in the letter which warrants another

hearing.

     Moreover, it is improper for the Defendant to communicate directly

with the Court. If the Defendant has a need to present an issue to the



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Court, he must do so through his attorney. The Clerk of Court is instructed

not to file any future pro se pleadings absent direction from the Court.



      IT IS, THEREFORE, ORDERED that the Defendant’s handwritten

letter to the Court is hereby STRICKEN.



The Clerk of Court is instructed that no future pro se pleadings from the

Defendant shall be filed absent instructions from the Court.

                                      Signed: December 10, 2009




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